     Case 2:11-cr-00107-WFN     ECF No. 478   filed 09/22/11   PageID.1094 Page 1 of 2




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 5                           UNITED STATES DISTRICT COURT
 6                         EASTERN DISTRICT OF WASHINGTON
 7   UNITED STATES OF AMERICA,                   )
                                                 )    NO.      CR-11-0107-WFN-5
 8                             Plaintiff,        )
                                                 )
 9          -vs-                                 )    ORDER OF DETENTION
                                                 )
10   JAZMIN ACOSTA-BELTRAN,                      )
                                                 )
11                             Defendant.        )
                                                 )
12
13         A detention review hearing was held September 23, 2011. The Defendant, who is in
14 custody, was present and represented by Phillip Wetzel and assisted by Court-appointed
15 interpreter Bea Rump; Assistant United States Attorney Stephanie Van Marter represented
16 the Government.
17         The Court considered the Government's Motion for Review of the Order Setting
18 Conditions of Release and Stay of Order Releasing Defendant (ECF No. 474). The Court
19 noted that based on the charges, Defendant faces a rebuttable presumption of detention.
20 Based on the materials before the Court, the Court determined that Defendant poses a risk
21 of flight that is exacerbated by the proposed release address. Defendant faces deportation
22 and is not legally in the District. The proposed release address is in a distant district,
23 Defendant has no ties to the Eastern District of Washington and no means to travel between
24 the proposed address and this district. Ms. Perez' family connections and implication of
25 involvement in the current charges also increases the Court's concerns regarding the
26 proposed release address. Though the Court is very sympathetic to the Defendant's condition


     ORDER - 1
      Case 2:11-cr-00107-WFN     ECF No. 478    filed 09/22/11   PageID.1095 Page 2 of 2




 1 and shares her concerns regarding the birth and care of her newborn, the risk of flight is too
 2 great to be overcome by her pregnancy. The Court has reviewed the file and motions and is
 3 fully informed. The Court finds that there is no combination of conditions that will
 4 reasonably assure Defendant's appearance. This Order is entered to memorialize and
 5 supplement the oral rulings of the Court. Accordingly,
 6          IT IS ORDERED that:
 7          1. The Government's Motion for Review of the Order Setting Conditions of Release
 8 and Stay of Order Releasing Defendant, filed September 19, 2011, ECF No. 474, is
 9 GRANTED.
10          2. Defendant shall REMAIN in CUSTODY.
11          The District Court Executive is directed to file this Order and provide copies to
12 counsel.
13          DATED this 22nd day of September, 2011.
14
15                                                   s/ Wm. Fremming Nielsen
                                                        WM. FREMMING NIELSEN
16   09-21-11                                    SENIOR UNITED STATES DISTRICT JUDGE
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     ORDER - 2
